522 U.S. 446118 S. Ct. 903139 L. Ed. 2d 892
    LORENZO ARTEAGA v.UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT; LORENZO ARTEAGA, PETITIONER v.PETE WILSON, GOVERNOR OF CALIFORNIA, ET AL
    No. 97-6749
    SUPREME COURT OF THE UNITED STATES
    February 23, 1998, Decided
    
      ON MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS
      PER CURIAM.
    
    
      1
      Pro se petitioner Lorenzo Arteaga seeks leave to proceed in forma pauperis to file a petition for a writ of certiorari to the Ninth Circuit. The Ninth Circuit affirmed the District Court's dismissal with prejudice of petitioner's complaint for failure to amend his complaints pursuant to the District Court's instructions.
    
    
      2
      We deny petitioner leave to proceed in forma pauperis. He is allowed until March 16, 1998, within which to pay the docketing fee required by Rule 38 and to submit his petition in compliance with Rule 33.1. For the reasons discussed below, we also direct the Clerk of the Court not to accept any further  petitions for certiorari in noncriminal matters from petitioner unless he first pays the docketing fee required by Rule 38 and submits his petition in compliance with Rule 33.1.
    
    
      3
      Petitioner has filed 20 petitions with this Court, 16 in the past two Terms. All have been denied without recorded dissent. In 1997, we invoked Rule 39.8 to deny petitioner in forma pauperis status. Arteaga v. California, 118 S. Ct. 42, 139 L. Ed. 2d 9 (1997). Petitioner nevertheless has filed another frivolous petition with this Court. In his petition and supplemental petition, Arteaga appears to assert that he is an innocent person falsely imprisoned and to allege numerous constitutional violations and conspiracies among prison, court, and government officials. He does not address the reasons for the District Court's dismissal.
    
    
      4
      Accordingly, we enter this order barring prospective in forma pauperis filings by petitioner in noncriminal cases for the reasons discussed in Martin v. District of Columbia Court of Appeals, 506 U.S. 1, 121 L. Ed. 2d 305, 113 S. Ct. 397 (1992).
    
    
      5
      It is so ordered.
    
    
      6
      JUSTICE STEVENS, dissenting.
    
    
      7
      For reasons previously stated, see Martin v. District of Columbia Court of Appeals, 506 U.S. 1, 4, 121 L. Ed. 2d 305, 113 S. Ct. 397 (1992), and cases cited, I respectfully dissent.
    
    